Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 1 of 67




  EXHIBIT A
         Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 2 of 67
                                                              FOR EXECUTION


                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

                                       )
SHAWN HARRINGTON, on behalf of himself )
and all others similarly situated,     )
                                       )
                Plaintiff,             )
                                       )
v.                                     ) Civil Action No. 1:19-cv-11180-RGS
                                       )
WELLS FARGO BANK, N.A.,                )
                                       )
                Defendant.             )
                                       )

                       CLASS ACTION SETTLEMENT AGREEMENT

         This Class Action Settlement Agreement (“Agreement,” “Settlement,” or “Settlement

Agreement”) is entered into by and among (i) Shawn Harrington (“Plaintiff”), (ii) a settlement

class of similarly-situated persons (specifically defined below as the “Settlement Class”), and (iii)

Wells Fargo Bank, N.A. d/b/a Wells Fargo Auto (“Wells Fargo Auto”). The parties to this

Agreement are collectively referred to as the “Parties.” This Settlement Agreement is intended by

the Parties to fully, finally, and forever resolve, discharge and settle the Released Claims (as the

term is defined below), upon and subject to the terms and conditions of this Settlement Agreement,

and subject to the final approval of the Court. This Agreement is entered into as of the date it is

signed by the last of the Parties to sign it.

1.       Recitals. The following Recitals are incorporated into this Agreement.

         1.1    Plaintiff is an adult individual residing in Framingham, Massachusetts.




307781790 v1
         Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 3 of 67




         1.2   On April 12, 2016, Plaintiff allegedly financed the purchase of a used 2007 Volvo

S80 automobile via an indirect automobile loan, which was later assigned to Wells Fargo Auto as

account number XXXXXX8789 (the “Debt”)). On April 8, 2019, Plaintiff filed a putative class

action complaint titled Shawn Harrington v. Wells Fargo Auto Finance, Inc., 1 1981CV00996, in

the Superior Court for the County of Middlesex in the Commonwealth of Massachusetts (the

“Action”).

         1.3   Plaintiff alleged that Wells Fargo Auto violated the Massachusetts Consumer

Protection Act, M.G.L. c. 93A § 2, et seq. (“MCPA”), and the Massachusetts Debt Collection

Regulations, 940 CMR § 7.00, et seq. (“MDCR”), by placing in excess of two calls within a seven-

day period when attempting to collect the Debt. Plaintiff sought to represent himself and a class

of similarly situated consumers.

         1.4   On May 24, 2019, pursuant to 28 U.S.C. §§ 1332, 1441 & 1453, Wells Fargo Auto

removed the Action to the United States District Court for the District of Massachusetts under the

Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d).

         1.5   On May 24, 2019, the Action was docketed as Shawn Harrington v. Wells Fargo

Auto Finance, Inc., 1:19-cv-11180-RGS, the Honorable Richard G. Stearns presiding.

         1.6   Counsel for the Parties have extensively investigated the facts relating to the claims

and defenses alleged and the underlying events in the Action, have made a thorough study of the

legal principles applicable to the claims and defenses asserted in the Action, and have conducted

a thorough assessment of the strengths and weaknesses of their respective claims and defenses.




1
 The Complaint named “Wells Fargo Auto Finance, Inc.” rather than Wells Fargo Bank, N.A.
d/b/a Wells Fargo Auto, which is the proper party.


                                              2 of 41
307781790 v1
         Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 4 of 67




         1.7    Wells Fargo Auto denies all claims asserted against it in the Action, denies all

allegations of wrongdoing and liability, and denies that Plaintiff and the putative class members

are entitled to any relief from Wells Fargo Auto, particularly because Wells Fargo Auto has

maintained at all relevant times, and continues to maintain, MDCR-compliant internal policies and

procedures.

         1.8    Counsel for the Parties have engaged in extensive arm’s-length negotiations

concerning the settlement of the claims asserted in the Action, including a full-day mediation

session led by the Hon. Stephen E. Neel (Ret.) of JAMS Boston.

         1.9    Wells Fargo Auto, without admitting or conceding any wrongdoing or liability, has

concluded that further defense would be protracted, burdensome, and expensive, and that it is

desirable and beneficial to fully and finally settle and terminate the Action in the manner and upon

the terms and conditions set forth in this Settlement Agreement, subject to Court approval.

         1.10   Plaintiff, and his counsel, on behalf of the Settlement Class (as defined below), after

receiving information and conducting discovery have concluded based upon their investigation,

and taking into account the contested issues involved, the legal principles at issue, the expense and

time necessary to prosecute the Action through trial, the risks and costs associated with further

prosecution of the Action, the uncertainties of complex litigation, and the substantial benefits to

be received pursuant to this Settlement Agreement, that a settlement with Wells Fargo Auto on the

terms set forth is fair, reasonable, and adequate, and in the best interest of the Plaintiff and the

Settlement Class.

         1.11   The Parties and their counsel agreed to settle this Action on the terms set forth

herein and to have judgment entered pursuant to this Settlement Agreement without trial or

adjudication of any issue of fact or law excepting approval of this Settlement Agreement.




                                               3 of 41
307781790 v1
         Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 5 of 67




         1.12   Plaintiff’s Motion for Preliminary Approval will include a request for the Court to

certify the Settlement Class, comporting with the definition agreed-upon by the Parties set forth in

Section 2.35 below.

         1.13   This Settlement is expressly conditioned upon and subject to preliminary and final

approval by the Court, as set forth herein. Absent such approvals, this Agreement and underlying

Settlement shall be null, void, and of no further force or effect and the Parties shall be returned to

their status quo ante.

         1.14   NOW THEREFORE, it is hereby agreed that, in consideration of the agreements,

promises, and covenants set forth in this Settlement Agreement, and subject to the terms and

conditions set forth herein and the approval of the Court, the Action shall be fully and finally

settled and dismissed with prejudice on a class-wide basis.

2.       Definitions. Unless defined elsewhere in this Agreement, as used herein and in the

documents attached hereto as exhibits, the terms set forth below shall have the meanings set forth

below. The singular includes the plural and vice versa.

         2.1    “CAFA Notice” refers to the notice requirements imposed by 28 U.S.C. § 1715(b).

         2.2    “Class Counsel” or “Settlement Class Counsel” means Sergei Lemberg and

Stephen Taylor of Lemberg Law LLC.

         2.3    “Class List” means the list produced by Wells Fargo Auto consisting of the names,

addresses and telephone numbers of the 20,757 Settlement Class Members.

         2.4    “Class Period” means the period from April 26, 2015 to December 30, 2019.

         2.5    “Counsel for Wells Fargo Auto” or “Wells Fargo Auto’s Counsel” means Sean R.

Higgins and Edward J. Mikolinski of K&L Gates, LLP.

         2.6    “Court” means the United States District Court for the District of Massachusetts.




                                               4 of 41
307781790 v1
         Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 6 of 67




         2.7     “Cy Pres Recipient” means the organization that the Parties agree to, and that the

Court finds appropriate, to receive any funds from uncashed Settlement Checks.

         2.8     “Defendant” or “Wells Fargo Auto” means Wells Fargo Bank, N.A. d/b/a Wells

Fargo Auto.

         2.9     “Effective Date” means one (1) business day after the Final Approval Order and

Judgment becomes final. For this Agreement’s purposes, the Final Approval Order and Judgment

becomes final when (a) the time for an appeal has expired without an appeal having been timely

filed; (b) an appeal was filed and the appellate court has affirmed Final Approval Order and

Judgment without any material change, and its mandate has issued; or (c) an appeal was filed and,

on remand, the Court enters a further order or orders approving the settlement on the terms set

forth herein, and either no further appeal is taken from any such order or any such appeal results

in affirmance.

         2.10    “Fee Award” means any award of reasonable attorneys’ fees and reimbursement of

costs and expenses to be awarded by the Court to Class Counsel.

         2.11    “Final Approval Hearing” means the hearing at which the Court will be asked to

grant final approval to this Settlement Agreement in all material respects as fair, reasonable, and

adequate, consider any timely objections to this Settlement Agreement, authorize the entry of a

final judgment, and determine the amounts of the Fee Award and Incentive Award.

         2.12    “Final Approval Order and Judgment” means the order in which the Court certifies

the Settlement Class, grants final approval of this Settlement Agreement, authorizes the entry of a

final judgment, and dismisses the Action with prejudice.

         2.13    “Funding Date” means the date, which shall be no later than thirty (30) days after

the Effective Date, on which Wells Fargo Auto shall deposit the balance of the Settlement Fund.




                                               5 of 41
307781790 v1
         Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 7 of 67




         2.14   “Incentive Award” means the payment to be made to the Named Plaintiff as set

forth in this Settlement Agreement, subject to the approval of the Court in recognition for the

Named Plaintiff’s time and effort in prosecuting the Action.

         2.15   “Initial Settlement Check” means a negotiable check to be sent to Settlement Class

Members as identified in the Class List.

         2.16   “Long Form Notice” means the long form notice to be made available on the

Settlement Website, describing the terms of this Settlement Agreement and containing information

on receiving direct payment, opting out of the Settlement Class, or objecting to the Settlement,

substantially in the form of Exhibit A hereto.

         2.17   “Notice” means the notice of this proposed Settlement Agreement and Final

Approval Hearing, which is consistent with the requirements of due process, and which is to be

provided substantially in the manner set forth in this Agreement and the exhibits thereto, including

Long Form Notice, Short Form/Postcard Notice, and the Settlement Website.

         2.18   “Notice Plan” means and refers to the plan to disseminate Notice of the Settlement

Agreement to the Settlement Class that comports with due process.

         2.19   “Objection Deadline” means the date by which any Persons who fall within the

definition of “Settlement Class” must submit any objections to the Settlement Agreement and

which shall be set for a date sixty (60) days following commencement of the Notice Plan.

         2.20   “Opt-Out Deadline” means the date by which any Persons who fall within the

definition of “Settlement Class” must submit any requests to exclude themselves from or Opt-Out

of the Settlement Agreement and shall be set for a date sixty (60) days following commencement

of the Notice Plan.

         2.21   “Parties” means the Plaintiff, Wells Fargo Auto, and the Settlement Class.




                                                 6 of 41
307781790 v1
         Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 8 of 67




         2.22     “Person” means, without limitation, any individual consumer.

         2.23     “Plaintiff,” “Named Plaintiff,” or “Class Representative” means Shawn Harrington.

         2.24     “Preliminary Approval Order” means the Court’s Order to be entered in connection

with the hearing at which the Court, inter alia, preliminarily certifies the Settlement Class, grants

its preliminary approval to this Settlement Agreement, authorizes the dissemination of Notice to

the Settlement Class, and schedules the Final Approval Hearing. The Preliminary Approval Order

shall be substantially consistent with Exhibit B to this Agreement.

         2.25     “Release,” or “Releases” means the releases set forth in Section 17 of this

Settlement Agreement.

         2.26     “Remaining Funds” means the amount of funds remaining in the Settlement Fund

from Initial Settlement Checks not cashed by Settlement Class Members within forty-five (45)

days of issuance.

         2.27     “Second Settlement Check” means a negotiable check to be sent to Settlement Class

Members that cash Initial Settlement Checks, dividing the Remaining Funds on a pro rata basis.

         2.28     “Settlement Administration Costs” means the expenses incurred by the Settlement

Administrator in providing Notice pursuant to the Notice Plan approved by the Court and mailing

checks for Settlement Class Members. Settlement Administration Costs shall be paid from the

Settlement Fund.

         2.29     “Settlement Administrator” means a vendor selected by Plaintiff and Wells Fargo

Auto and approved by the Court to issue Notice to the Settlement Class Members and to administer

the settlement.

         2.30     “Settlement Agreement,” “Settlement,” or “Settlement Agreement and Release” or

“Agreement” means this settlement agreement and release, including the attached exhibits.




                                               7 of 41
307781790 v1
         Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 9 of 67




         2.31   “Settlement Check” means any check issued to a Settlement Class Member as part

of this Settlement, whether the Initial Settlement Check or the Second Settlement Check.

         2.32   “Settlement Class” is specifically defined as “The individuals who were borrowers

on a Wells Fargo Auto loan who may have received in excess of two telephone calls from Wells

Fargo Auto in Massachusetts within a seven-day period to their residence, cellular telephone, or

other telephone number regarding their automobile debt between April 26, 2015, and December

31, 2019, as reflected on the Class List.” The Settlement Class shall not include any employees,

officers, members and/or agents of Wells Fargo Auto; any members or employees of Class

Counsel; any person who is barred from receiving payment pursuant to this Settlement by virtue

of a pending court proceeding (including but not limited to a pending bankruptcy proceeding),

court order (including but not limited to a bankruptcy discharge), or a prior release of claims

against Wells Fargo Auto; and/or any judicial officer who handles this case, and the immediate

family members of such judicial officer(s).

         2.33   “Settlement Class Member” or “Class Member” means a Person who falls within

the definition of the Settlement Class and who does not Successfully Opt-Out.

         2.34   “Settlement Fund” means the total aggregate common fund that Wells Fargo Auto

will be obligated to pay by operation of this Settlement Agreement upon the finality of the Final

Approval Order and Judgment becomes. The Settlement Fund equals one million, twenty-five

thousand dollars ($1,025,000.00 USD), which constitutes Wells Fargo Auto’s maximum,

exclusive, and total payment obligation under this Settlement Agreement. The Settlement Fund is

a non-reversionary fund; all portions of the fund will be used to pay Settlement Class Members,

any Attorneys’ Fees and Costs, any Incentive Award, Administrative Costs and any cy pres

distribution, and no part of the fund will revert to Wells Fargo Auto. The Settlement Fund shall




                                              8 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 10 of 67




be maintained in an interest-bearing account if possible at a bank chosen by the Settlement

Administrator (the “Settlement Fund Bank Account”). Any costs associated with opening and/or

maintaining the Settlement Fund Bank Account shall be deducted from the Settlement Fund. The

Settlement Administrator shall be responsible for all tax filings with respect to any earnings on the

Settlement Fund and the payment of all taxes that may be due on such earnings.

         2.35   “Settlement Website” means the website to be created by the Settlement

Administrator containing full details and information about the Settlement, including this

Agreement, the Preliminary Approval Order, and the Long Form Notice, and providing Settlement

Class Members means to update addresses for direct payment.

         2.36   “Short Form/Postcard Notice” means written notice of the settlement in the form

attached hereto as Exhibit C, to be sent in a postcard format, summarizing the terms of the

settlement and advising Persons who fall within the definition of the Settlement Class of their

options to receive direct payment, exclude themselves, and object to the settlement.

         2.37   “Successful Opt-Out” or “Successfully Opt-Out” means a properly completed and

timely opt out request, but shall not include (a) any requests that are not treated as requests for

exclusion, and (b) any requests that are invalid, untimely, or are otherwise void pursuant to the

provisions of this Agreement.

         2.38   All references to days shall be interpreted to mean calendar days, unless otherwise

noted. When a deadline or date falls on a weekend or a legal Court holiday, the deadline or date

shall be extended to the next business day that is not a weekend or legal Court holiday.

         2.39   All references to “his,” “her,” and similar terms are intended to be gender-neutral

and apply equally to Persons who are businesses, organizations, or other non-natural Persons.




                                              9 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 11 of 67




         2.40   Other terms are defined in the text of this Settlement Agreement and shall have the

meaning given to those terms in the text. Defined terms as used in other documents related to the

Settlement shall have the meaning given to them in this Settlement Agreement, unless otherwise

specified.

3.       Settlement Consideration and Payment Procedure. In consideration of a full, complete,

and final settlement of the Action, dismissal of the Action with prejudice, and the Releases set

forth in Section 17 below, and subject to the Court’s preliminary and final approval, the Parties

agree to the following relief:

         3.1    Relief to Settlement Class Members.

                3.1.1   No later than the Funding Date, Wells Fargo Auto shall pay the Settlement

         Funds to the Settlement Administrator for deposit into the Settlement Fund Bank Account.

         Wells Fargo Auto shall not be responsible for any payments or obligations other than those

         specified in this Agreement. In the event that this Settlement Agreement is not finally

         approved or otherwise terminates, any advances paid to the Settlement Administrator by

         Wells Fargo Auto that have not been spent, and are not required for amounts that are due

         and payable for reasonable and identified notice and administration costs already incurred,

         shall, within ten (10) business days, be returned by the Settlement Administrator to Wells

         Fargo Auto in the manner that Wells Fargo Auto directs.

                3.1.2   To facilitate the notice and administration process, Wells Fargo Auto shall

         provide the Settlement Administrator with the Class List. The Settlement Administrator

         will confirm to the Parties that the Class List contains the names, addresses and telephone

         numbers of the 20,757 Settlement Class Members. Any information on the Class List shall

         be provided solely for the purpose of providing Notice to the Settlement Class and




                                              10 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 12 of 67




         informing Settlement Class Members about their rights further to this Settlement, shall be

         kept in strict confidence, shall not be disclosed to any third party, shall be used for no other

         cases, and shall be used for no other purpose.

                  3.1.3 Subject to the terms and conditions of this Agreement, Settlement Class

         Members shall qualify for direct payment from the Settlement Fund so long as they do not

         Successfully Opt-Out by the Opt-Out Deadline.

                  3.1.4   Each Settlement Class Member shall receive, an Initial Settlement Check,

         constituting a pro rata share of the Settlement Fund, after payment of Settlement

         Administration Costs, the Fee Award, and the Incentive Award.

                  3.1.5   The amount of the Initial Settlement Check shall be irrespective of the

         number of telephone calls made to each Settlement Class Member.

                  3.1.6   Any Remaining Funds from uncashed Initial Settlement Checks after forty-

         five (45) days of issuance will remain part of the Settlement Fund. The Settlement

         Administrator will issue a Second Settlement Check constituting a pro rata share of the

         Remaining Funds to all Settlement Class Members who cashed their Initial Settlement

         Checks. However, if the remaining pro rata share of the Settlement Fund is less than $5.00

         for each Settlement Class Member who cashed their Initial Settlement Check, the

         Settlement Administrator will not issue Second Settlement Checks and any Remaining

         Funds will instead be included and paid to the Cy Pres Recipient pursuant to Section 3.1.9

         below.

                  3.1.7   All Settlement Class Members will be informed that Settlement Checks

         must be cashed within forty-five (45) days of issuance or else the checks will be void and




                                                11 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 13 of 67




         Settlement Class Members will have no further right or entitlement to any payment under

         the terms of this Settlement.

                3.1.8   Notwithstanding any judgment, principle, common law rule or statute, there

         shall be no interest accrued, owing, or paid by Wells Fargo Auto via Settlement Checks,

         the Settlement Fund, or on any other benefit available (or potentially available) under this

         Agreement.

                3.1.9   If any amount of funds remain in the Settlement Fund after forty-five (45)

         days after issuance of the Second Settlement Checks, the Class Administrator will pay any

         such funds to the Cy Pres Recipient, agreed by the Parties. No portion of the Settlement

         Fund will revert to Wells Fargo Auto.

4.       Administration of Claims.

         4.1    Within thirty (30) days of entry of the Preliminary Approval Order, the Settlement

Class Administrator shall issue Notice.

         4.2    The Settlement Administrator shall keep the Class List and all personal information

obtained therefrom, including the identity, telephone numbers, email addresses, and U.S. mailing

addresses of Persons within the Settlement Class, strictly confidential in accordance with

applicable law and confidentiality agreements that it shall execute or has already executed. The

Class List shall only be used in furtherance of the Settlement Agreement and for no other purpose.

         4.3    The Settlement Administrator shall create the Settlement Website that provides

Settlement Class members means to update addresses for direct payment. The Settlement Website

shall also include the Long Form Notice, the Preliminary Approval Order, and this Settlement

Agreement. The Settlement Administrator shall set up a toll-free telephone number for receiving

toll-free calls related to the Settlement.




                                              12 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 14 of 67




5.       Payment of Settlement Administration Costs.

         5.1    All Settlement Administration Costs, including the Settlement Administrator’s fees

and expenses, shall be paid out of the Settlement Fund.

         5.2    The Settlement Administrator will, as early as practicable, estimate the Settlement

Administration costs, and communicate that estimate to the Parties.

         5.3    Within thirty (30) days after entry of the Preliminary Approval Order, or within

thirty (30) days after receiving an estimate from the Settlement Administrator of the total

anticipated Settlement Administration Costs, whichever is later, Wells Fargo Auto will advance

the estimated Settlement Administration Costs to the Settlement Administrator.

6.       Payment of Benefits.

         6.1    Subject to the terms and conditions of this Settlement Agreement, after the Funding

Date, the Settlement Administrator shall make the following disbursements from the Settlement

Fund in this order:

                6.1.1   Pay all taxes and tax-related expenses, if any or, at the Settlement

         Administrator’s reasonable discretion, it shall reserve the amount of the Settlement Fund

         sufficient to pay taxes and tax-related expenses;

                6.1.2   Pay to the Settlement Class Representative any Incentive Award ordered by

         this Court;

                6.1.3   Pay to Class Counsel any Fee Award ordered by the Court;

                6.1.4   Pay all remaining Settlement Administration Costs and, if additional costs

         are to be incurred in the future, reserve the amount of the Settlement Fund sufficient to pay

         all Settlement Administration Costs.




                                                13 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 15 of 67




                6.1.5   Mail Initial Settlement Checks to all Settlement Class Members who have

         not submitted a Successful Opt-Out.

                6.1.6   Mail Second Settlement Checks to all Settlement Class Members that

         cashed Initial Settlement Checks.

                6.1.7   Pay any remaining amounts in the Settlement Fund to the Cy Pres Recipient.

                6.1.8   The Settlement Checks shall be mailed to the addresses in the Class List or

         updated by the Settlement Administrator as contemplated in this Agreement.

                6.1.9   The Settlement Administrator’s and the Parties’ respective obligations with

         respect to the distribution of Settlement Checks, the Settlement Administration Costs, any

         Fee Award, any Incentive Award, and the amount of unclaimed and uncashed Settlement

         Checks, if any, shall be performed reasonably and in good faith. So long as such

         obligations are performed in good faith, the Parties and the Settlement Administrator shall

         not be liable for erroneous, improper, or inaccurate distribution, and the Release and any

         judgment shall be effective on the Effective Date.

7.       Settlement Class Certification.

         7.1    Wells Fargo Auto does not object to the certification of the Settlement Class strictly

and solely for settlement purposes. Certification of the Settlement Class will be effective only

with respect to the Settlement of this Action and is without prejudice to the rights of Wells Fargo

Auto to oppose class certification and/or to contest issues of liability in this Action should this

Settlement Agreement be terminated, or not completed by the Effective Date for any reason. This

Settlement Agreement shall be inadmissible as evidence that Wells Fargo Auto has engaged in any

wrongful conduct, or conduct that otherwise violates any federal, state, or local laws, regulations

or rules, shall be inadmissible in any other action against Wells Fargo Auto, and shall not be




                                               14 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 16 of 67




construed as an admission by Wells Fargo Auto as to any matter. In the event that this Agreement

is terminated pursuant to its terms or not completed by the Effective Date for any reason, then

certification of the Settlement Class, which is strictly and solely for settlement purposes only, will

be vacated and of no further force or effect, and the Action will proceed as it existed before

execution of this Settlement Agreement.

8.       Preliminary and Final Approval Orders

         8.1   Plaintiff will file a motion for entry of an order preliminarily approving this

settlement. Plaintiff will request that the Court enter an “Order Preliminarily Approving Class

Action Settlement and Approving Class Notice” in the form attached hereto as Exhibit B.

Additionally, Plaintiff will request that the Court approve a “Notice of Class Action and Proposed

Settlement,” attached hereto as Exhibit A, and request that the Court permit the Parties to direct

the Settlement Administrator to send Notice as set forth in this Agreement.

         8.2   The Preliminary Approval Order will set a date for a Final Approval Hearing. At

the time Plaintiff moves for the Preliminary Approval Order as described above, Class Counsel

shall request that, after Notice is given, the Court hold a Final Approval Hearing and approve the

settlement of the Action as set forth herein.

         8.3   After Notice is provided, Plaintiff shall request and obtain from the Court a Final

Approval Order in the form attached hereto as Exhibit D. The fact that the Court may require non-

substantive changes in the Final Approval Order will not invalidate this Agreement or the

Settlement. If the Court does not enter a Final Approval Order substantially in the form of

Exhibit D or a modified version thereof that is acceptable to all Parties, which becomes a final and

non-appealable order, then this Agreement shall be null and void.




                                                15 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 17 of 67




         8.4     Wells Fargo Auto’s failure to oppose Plaintiff’s request for entry of a Preliminary

Approval Order and/or a Final Approval Order shall not constitute an admission by Defendant as

to any matter.

9.       Notice Plan.

         9.1     The Parties will provide Notice using the most recent mailing address included in

Wells Fargo Auto’s records for each Settlement Class Member.

         9.2     The Settlement Administrator shall, by using the National Change of Address

(“NCOA”) database maintained by the United States Postal Service (“Postal Service”), obtain

updated mailing addresses, if available.

         9.3     Within thirty (30) days following entry of the Preliminary Approval Order, the

Settlement Administrator shall send the Short Form/Postcard Notice to each Class Member via

first class mail. To the extent deemed necessary by the Settlement Administrator, the last known

address of Persons in the Settlement Class will be subject to confirmation or updating as follows:

(a) the Settlement Administrator may conduct a reasonable search to locate an updated address for

any Person in the Settlement Class whose Short Form/Postcard Notice is returned as undeliverable;

(b) the Settlement Administrator shall update addresses based on any forwarding information

received from the Postal Service; and (c) the Settlement Administrator shall update addresses

based on information it receives and through any requests received from Persons in the Settlement

Class, including through the Settlement Website.

         9.4     If any Short Form/Postcard Notice sent under this section is returned by the Postal

Service as undeliverable, the Settlement Administrator shall re-mail the Short Form/Postcard

Notice once to the forwarding address, if any, provided by the Postal Service on the face of the




                                              16 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 18 of 67




returned mail. Other than as set forth in this paragraph, neither the Parties nor the Settlement

Administrator shall have any other obligation to re-mail the Short Form/Postcard Notice.

         9.5   The Settlement Administrator shall have discretion to format the Short

Form/Postcard Notice in a reasonable manner to minimize mailing or administrative costs. Before

the Short Form/Postcard Notices are mailed, Class Counsel and Counsel for Defendant shall first

be provided with a proof copy of all forms of Notice (including what the items will look like in

their final form), and shall have the right to inspect the same for compliance with the Settlement

Agreement and with any orders by the Court.

         9.6   No later than thirty (30) days following the entry of the Preliminary Approval

Order, the Settlement Administrator shall cause the Long Form Notice, this Settlement Agreement,

the Amended Complaint, the Preliminary Approval Order, and any other relevant documents to be

made available on a dedicated Settlement Website, the website name/URL for which is to be

agreed upon by the Parties, to be administered by the Settlement Administrator. When available,

the Settlement Administrator shall make available on the Settlement Website Class Counsel’s

application for a Fee Award, any motion seeking approval of any Incentive Award and any motion

seeking entry of the Final Approval Order. Any other content proposed to be included or displayed

on the Settlement Website shall be approved in advance by Class Counsel and Defendant’s

Counsel. Such approvals shall not be unreasonably withheld.

         9.7   Within thirty (30) days after entry of the Preliminary Approval Order, the

Settlement Administrator shall set up a toll-free telephone number that will provide automated

information about the Settlement, the Settlement Class Members’ rights, important deadlines, and

instructions as to how Settlement Class Members may request and obtain hard-copy Settlement

documents. That telephone number shall be maintained until the Opt Out /Objection Deadline.




                                            17 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 19 of 67




After that time, and through the date the Final Approval Order is entered, a recording will advise

any caller to the toll free telephone number that the Opt Out /Objection Deadline has passed and

that details regarding the Settlement may be reviewed on the Settlement Website.

         9.8    Wells Fargo Auto shall be responsible for timely compliance with any notice

required by CAFA, 28 U.S.C. § 1715. Wells Fargo Auto shall provide proof of such compliance

by filing a confirmation declaration with the Court at least fourteen (14) days prior to the Final

Approval Hearing.

10.      Right and Effect of Members of the Class to Opt-Out.

         10.1   Each Person who falls within the definition of the Settlement Class shall have the

right to opt-out and not participate in the Settlement Agreement as provided for in the Preliminary

Approval Order.

         10.2   The Notice shall explain the right to request exclusion from the Settlement Class

and not to be bound by this Settlement Agreement, if, before the Opt-Out Deadline, the Person

who falls within the definition of the Settlement Class (a “Requester”) completes and mails a valid

request for exclusion (an “Opt-Out”) to the Settlement Administrator at the address set forth in the

Notice. The Opt-Out must be postmarked on or before the Opt-Out Deadline.

         10.3   For an Opt-Out request to be valid and treated as a Successful Opt-Out, it must

include: (a) the Requester’s full name, address, and the name of the Action and telephone number;

(b) the Requester’s personal and original signature, or the original signature of a person previously

authorized by law, such as a trustee, guardian, or person acting under a valid power of attorney, to

act on behalf of the Requester; and (c) state unequivocally that the Requester desires to be excluded

from the Settlement Class, to be excluded from the Settlement, not to participate in the Settlement,

and/or to waive all rights to the benefits of the Settlement. The Settlement Administrator shall




                                              18 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 20 of 67




promptly inform Wells Fargo Auto’s Counsel and Class Counsel of any Opt-Out requests it

receives.

         10.4   Persons who submit Successful Opt-Outs shall receive no benefit or compensation

under this Settlement Agreement, shall have no right to object to the proposed Settlement

Agreement or participate at the Final Approval Hearing, and shall not be bound by any order or

judgment entered in this Action.

         10.5   A request to Opt-Out that does not comply with all of the foregoing, or that is not

timely submitted or postmarked by the Opt-Out Deadline, shall be invalid and the person serving

such request shall be treated as a Settlement Class Member and be bound by this Settlement

Agreement and the Release contained herein if finally approved.

         10.6   No Person shall purport to exercise any exclusion rights of any other Person, or

purport to: (i) Opt-Out Persons who fall within the definition of the Settlement Class as a group,

aggregate, or class involving more than one Person; or (ii) Opt-Out more than one Person who

falls within the definition of the Settlement Class on a single paper, or as an agent or representative.

Any such purported Opt-Outs shall be void, and any Person(s) who are the subject of such

purported Opt-Outs shall be treated as Settlement Class Members.

         10.7   Before the Final Approval Hearing, the Settlement Administrator shall create a

comprehensive list of Successful Opt-Outs. The Parties shall, if possible, agree as to whether a

communication from or on behalf of a Person who falls within the definition of the Settlement

Class is a request to Opt-Out. Wells Fargo Auto’s Counsel and Class Counsel may dispute an Opt-

Out or purported Opt-Out, and if the Parties are unable to resolve such dispute, they shall present

the issue to the Court for resolution.




                                               19 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 21 of 67




11.      Inquiries to the Settlement Administrator

         11.1    It shall be the responsibility of the Settlement Administrator to respond to all

inquiries from or on behalf of potential Settlement Class Members with respect to this Settlement.

Class Counsel and Counsel for Wells Fargo Auto must both approve any frequently asked

questions (FAQ) or other material the Settlement Administrator may use to answer inquiries and

shall confer and assist the Settlement Administrator as it requests.

12.      Objections to the Settlement and Appearance at Final Approval Hearing

         12.1    Any Settlement Class Member may comment in support of, or in opposition to, the

Settlement at his or her own expense; provided, however, that all comments and/or objections must

be in writing and mailed or hand-delivered to the Clerk of the Court and the Settlement

Administrator and postmarked or delivered by no later than the Objection Deadline. Objections

may be filed by counsel for a Settlement Class Member, retained at the Settlement Class Member’s

expense, though any such counsel must file an appearance in the Action.

         12.2    Each objection must:

                 12.2.1 set forth the Settlement Class Member’s full name, address, and telephone

         number;

                 12.2.2 contain the Settlement Class Member’s original signature or the signature

         of counsel for the Settlement Class Member;

                 12.2.3 state that the Settlement Class Member objects to the Settlement, in whole

         or in part;

                 12.2.4 set forth the complete legal and factual bases for the objection, including

         citations to relevant authorities;




                                              20 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 22 of 67




                   12.2.5 provide copies of any documents that the Settlement Class Member wishes

         to submit in support of his/her position; and

                   12.2.6 state whether the objecting Settlement Class Member intends on appearing

         at the Final Approval Hearing either pro se or through counsel and whether the objecting

         Settlement Class Member plans on offering testimony at the Final Approval Hearing.

         12.3      An objector is not required to attend the Final Approval Hearing. However, any

Settlement Class Member who objects may appear at the Final Approval Hearing, either in person

or through an attorney hired at his or her own expense, to object to the fairness, reasonableness, or

adequacy of this Agreement or the underlying settlement. A Settlement Class Member or his or

her attorney who wishes to speak at the Final Approval Hearing must so state in his or her written

objection or submit a separate notice of intention to appear to the Clerk of Court no later than the

Objection Deadline. No Settlement Class Member shall be permitted to raise matters at the Final

Approval Hearing that the Settlement Class Member could have raised in a written objection but

failed to do so.

         12.4      Any Settlement Class Member who fails to timely submit a written objection with

the Court shall not be permitted to object to this Settlement Agreement at the Final Approval

Hearing, shall be foreclosed from seeking any review of this Agreement by appeal or other means,

and shall be deemed to have waived his or her objections and be forever barred from making any

such objections in the Action or any other related action or proceeding.

13.      Final Approval Hearing.

         13.1      The Parties will request that the Court schedule a Final Approval Hearing after the

Opt Out /Objection Deadline.




                                                21 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 23 of 67




         13.2   Class Counsel shall file their petition for a Fee Award and Incentive Award no later

than thirty (30) days prior to Objection Deadline.

         13.3   Class Counsel shall file their motion for entry of a Final Approval Order and

Judgment no later than fourteen (14) days prior to the Final Approval Hearing.

         13.4   No more than fourteen (14) days prior to the Final Approval Hearing, the

Settlement Administrator shall file with the Court and serve on counsel for all Parties a declaration

stating that the Notice required by the Agreement has been completed in accordance with the terms

of the Preliminary Approval Order.

         13.5   No later than fourteen (14) days before the Final Approval Hearing, Wells Fargo

Auto shall file with the Court a certification that it complied with the CAFA notice requirements

and stating the date of such compliance.

         13.6   If the Settlement Agreement is preliminarily approved by the Court, and all other

conditions precedent to the Settlement have been satisfied, then Plaintiff shall file a Motion for

Final Approval asking, inter alia, that the Court enter a Final Approval Order and Judgment, with

Plaintiff filing a memorandum of points and authorities in support of the motion. Either Party may

file a memorandum addressing any objection to the Settlement that has been submitted. Any

request by Wells Fargo Auto for entry of the Final Approval Order and Judgment, or failure to

object to Plaintiff’s request for entry of the Final Approval Order and Judgment, shall not be an

admission or concession by Wells Fargo Auto as to any matter pertaining to Plaintiff’s claims or

the Action.

         13.7   At the Final Approval Hearing, the Court will consider and determine whether the

provisions of this Agreement should be finally approved as fair, reasonable, and adequate, whether

any objections to the Agreement should be overruled, whether the requested Fee Award and the




                                              22 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 24 of 67




requested Incentive Award should be approved, and whether a judgment finally approving the

Settlement Agreement should be entered.

         13.8      This Settlement Agreement is subject to and conditioned upon the issuance by the

Court of a Final Approval Order that grants final approval of this Agreement and:

                   13.8.1 finds that the Notice provided satisfies the requirements of Rule 23 of the

         Federal Rules of Civil Procedure and due process under the Constitution of the United

         States;

                   13.8.2 finds that Settlement Class Members have been adequately represented by

         the Class Representative and Class Counsel;

                   13.8.3 finds that the Settlement Agreement is fair, reasonable, and adequate to the

         Settlement Class, that each Settlement Class Member shall be bound by this Agreement,

         including the Releases in Section 17, and that this Settlement Agreement should be and is

         approved;

                   13.8.4 dismisses on the merits and with prejudice all claims of the Settlement Class

         Members asserted against Wells Fargo Auto, without fees or costs to any Party except as

         provided in this Agreement; and

                   13.8.5 retains jurisdiction of all matters relating to the interpretation,

         administration, implementation, effectuation, and enforcement of this Settlement.

14.      Litigation Stay.

         14.1      Except as necessary to secure approval of this Settlement Agreement or as

otherwise provided herein, the Parties shall take no further steps to prosecute the Action in this

Court or in any other court. In the event the Settlement Agreement is not approved or is terminated




                                                 23 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 25 of 67




according to its terms, the Parties may resume litigation no sooner than fourteen (14) days after

such event or as otherwise directed by the Court.

15.       Conditions of Settlement; Effect of Disapproval, Cancellation, Termination or
          Nullification of Settlement.

          15.1   The Effective Date shall not occur unless and until each and every one of the

following events occurs, and shall be the date upon which the last in time of the following events

occurs:

                 15.1.1 This Agreement has been signed by the Parties, Settlement Class Counsel,

          and Wells Fargo Auto’s Counsel;

                 15.1.2 The Court has entered the Preliminary Approval Order;

                 15.1.3 The Court has entered the Final Approval Order and Judgment substantially

          consistent with the Order attached hereto as Exhibit D following Notice to the Settlement

          Class; and

                 15.1.4 The Final Approval Order and Judgment has become final.

          15.2   If some or all of the conditions specified in Section 15.1 are not met, or in the event

that this Settlement Agreement is not approved by the Court, or the Settlement set forth in this

Agreement is terminated or fails to become effective in accordance with its terms, then this

Settlement Agreement shall be cancelled and terminated subject to Section 15.3 below, unless

Class Counsel and Wells Fargo Auto’s Counsel agree in writing to proceed with this Agreement.

Notwithstanding anything herein, the Parties agree that the Court’s decision as to the amount of

the Fee Award to Class Counsel, or the Incentive Award to the Named Plaintiff, regardless of the




                                                24 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 26 of 67




amounts awarded, shall not prevent the Agreement from becoming effective, nor shall it be

grounds for termination of the Agreement.

         15.3   Wells Fargo Auto shall have the option to terminate this Settlement Agreement and

thereby render the Settlement Agreement null and void, if (i) the Court fails to give preliminary

approval to this Settlement Agreement or any aspect of the Settlement, or fails to give final

approval to this Settlement Agreement; (ii) the Court fails to give final approval to this Settlement

Agreement or any aspect of the Settlement, provided however, that the Court’s denial, in whole or

in part of, of the Fee Award to Class Counsel or the Incentive Award to the Named Plaintiff shall

not be a basis for Wells Fargo Auto to terminate this Settlement Agreement, and further provided

that the Court’s denial of the parties proposed Claims Administrator shall not be a basis for Wells

Fargo Auto to terminate this Settlement Agreement; (iii) the Court materially alters the Agreement,

the proposed Preliminary Approval Order or proposed Final Approval Order; (iiv) an appellate

court reverses the Final Approval Order, and the Settlement Agreement is not reinstated without

material change by the Court on remand; (iv) the Effective Date does not occur; or (vi) any other

ground for termination provided for elsewhere in this Agreement occurs. Wells Fargo Auto’s

termination shall be communicated in writing to Class Counsel within thirty (30) days of the

occurrence of any event giving rise to Wells Fargo Auto’s option to terminate.

         15.4   If this Agreement is terminated or fails to become effective for any reason, the

Parties—to the fullest extent possible—shall be restored to their respective positions as of the date

of the signing of this Agreement. In such event, any judgment or other order entered by any court

in accordance with the terms of this Agreement shall be treated as vacated, nunc pro tunc, and the

Parties shall be returned to the status quo ante as if this Agreement had never been entered into.




                                              25 of 41
307781790 v1
         Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 27 of 67




16.       No Admission of Liability; Non-Use.

          16.1   Wells Fargo Auto has agreed to the terms of this Agreement to end all controversy

with Plaintiff and the Settlement Class Members and to avoid the burden and expense of litigation,

without in any way acknowledging fault or liability. Nothing herein shall constitute an admission

by Wells Fargo Auto that the Action was properly brought on a class or representative basis other

than for settlement purposes. Wells Fargo Auto denies any liability or wrongdoing of any kind

associated with the alleged claims in the Action. Wells Fargo Auto has denied and continues to

deny each and every material factual allegation and all claims asserted against it in the Action.

Nothing herein shall constitute an admission by Wells Fargo Auto of wrongdoing or liability, or

of the truth of any allegations in the Action. The settlement of the Action, the negotiation and

execution of this Agreement, and all acts performed or documents executed pursuant to or in

furtherance of the Settlement are not and shall not be deemed to be, and may not be used as, an

admission or evidence of any wrongdoing or liability on the part of Wells Fargo Auto, or as a

concession by Wells Fargo Auto as to the truth of any of the allegations in the Action, or the

veracity of any claim for relief or defense, or as an admission regarding any other matter in the

Action.

          16.2   This Agreement, whether or not consummated, and any proceedings taken pursuant

to it:

                 16.2.1 shall not be offered or received against Wells Fargo Auto or any other

          Released Party as evidence of, or construed as, or deemed to be evidence of any

          presumption, concession, or admission by Wells Fargo Auto or any other Released Party

          concerning the truth of any fact alleged by the Plaintiff or the validity of any claim that

          was or could have been asserted against Wells Fargo Auto or any Released Party in the




                                               26 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 28 of 67




         Actions or in any litigation, or of any liability, fault, misconduct or wrongdoing of any kind

         of Wells Fargo Auto or any Released Party;

                16.2.2 shall not be offered or received against Wells Fargo Auto or any Released

         Party as evidence of a presumption, concession or admission of any liability, fault,

         misconduct or wrongdoing by Wells Fargo Auto or the Released Parties, or against the

         Plaintiff or any Settlement Class Member as evidence of any infirmity in the claims of the

         Plaintiff or the other Settlement Class Members;

                16.2.3 shall not be offered or received against Wells Fargo Auto or any Released

         Party, or against the Plaintiff or any other Settlement Class Members, as evidence of a

         presumption, concession or admission concerning any liability, fault, misconduct or

         wrongdoing of any kind, or in any way referred to for any other reason as against Wells

         Fargo Auto or any Released Party, in any other civil, criminal or administrative action or

         proceeding, other than such proceedings as may be necessary to effectuate the provisions

         of this Agreement; except, if this Agreement is approved by the Court, then Wells Fargo

         Auto or any other Released Party may refer to it to effectuate the protection from liability

         granted them by this Agreement;

                16.2.4 shall not be construed against Wells Fargo Auto or any Released Party, or

         against the Plaintiff or any other Settlement Class Members as an admission, concession,

         or presumption that the consideration to be given by this Agreement represents the amount

         which could be or would have been recovered after trial; and

                16.2.5 shall not be construed against the Plaintiff or any Settlement Class Member

         as an admission, concession, or presumption that any of their claims are without merit or

         that damages recoverable in this Action would not have exceeded the Settlement Fund.




                                               27 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 29 of 67




17.      Releases; Binding and Exclusive Nature of Settlement Agreement.

         17.1   In connection with the Settlement, the Final Approval Order and Judgment shall

provide that the Action is dismissed with prejudice as to the Named Plaintiff and all Settlement

Class Members. As of the Effective Date, the Releasing Parties shall be deemed to have, and by

operation of the Final Approval Order and Judgment shall have, fully, finally, and forever released,

resolved, relinquished and discharged each and all of the Released Parties from each of the

Released Claims. The Releasing Parties further agree that they will not institute any actions or

causes of action (in law, in equity, or administratively), suits, debts, liens, or claims, known or

unknown, fixed or contingent, which they may have or claim to have, in state or federal court, in

arbitration, or with any state, federal, or local government agency or with any administrative or

advisory body, arising from or reasonably related to the Released Claims. The release does not

apply to Persons who fall within the definition of the Settlement Class but who submit a Successful

Opt-Out in accordance with the term of this Agreement.

         17.2   For purposes of this Settlement Agreement, “Released Parties” means Wells Fargo

Auto, all of Wells Fargo Auto’s acquired entities, predecessors, successors, affiliates, parent

companies, and subsidiaries (collectively, “Affiliates”), and all of their past or present

predecessors, successors, direct or indirect parents, subsidiaries, associates, affiliates, assigns,

employers, employees, shareholders, principals, agents, consultants, independent contractors,

insurers, directors, managing directors, officers, partners, attorneys, accountants, financial and

other advisors, investment bankers, underwriters, shareholders, lenders, auditors, investment

advisors, legal representatives, successors in interest, assigns, franchisees and persons, firms,

trusts, corporations (each solely in their respective capacity as such); and any other individuals or

entities in which Wells Fargo Auto or Wells Fargo Auto’s Affiliates have or had a controlling




                                              28 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 30 of 67




interest, to which they are related, or with which they are affiliated and any other representatives

of any of these individuals or entities. This Settlement benefits and protects Wells Fargo Auto’s

Affiliates in the same manner and to the same extent that it benefits or protects Wells Fargo Auto.

         17.3   For purposes of this Settlement Agreement, “Released Claims” means any and all

claims, causes of action, suits, obligations, debts, demands, agreements, promises, liabilities,

damages, losses, controversies, costs, expenses, and attorneys’ fees of any nature whatsoever,

whether based on any federal law, state law, common law, territorial law, foreign law, contract,

rule, regulation, any regulatory promulgation (including, but not limited to, any opinion or

declaratory ruling), common law or equity, whether known or unknown, suspected or unsuspected,

asserted or unasserted, foreseen or unforeseen, actual or contingent, liquidated or unliquidated,

punitive or compensatory, as of the date of the Final Approval Order, that any of the Releasing

Parties have, had, and/or may have against Wells Fargo Auto, including but not limited to the

matters alleged and claims asserted in the Action and/or claims that could have been alleged

therein, based on the facts alleged in the complaint filed in the Action that Wells Fargo Auto placed

phone calls to the 20,757 Settlement Class Members in excess of two times in a seven day period

regarding an automobile loan account between April 26, 2015 and December 30, 2019. The Parties

shall request that this Release be included in the Final Approval Order.

         17.4   For purposes of this Settlement Agreement, “Releasing Parties” means the Named

Plaintiff, all Settlement Class Members and: (1) with respect to any Settlement Class Member that

is not an individual, all of its present, former, and future direct and indirect parent companies,

affiliates, subsidiaries, divisions, agents, franchisees, successors, predecessors-in-interest, and all

of the aforementioneds’ present, former, and future officers, directors, employees, shareholders,

attorneys, agents, independent contractors and any other representatives; and, (2) with respect to




                                               29 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 31 of 67




any Settlement Class Member who is an individual, any present, former, and future spouses,

dependents, children, parents, and any other members of the household who used the telephone

number to which calls from or on behalf of Wells Fargo Auto were made, as well as the present,

former, and future estates, heirs, executors, administrators, representatives, agents, attorneys,

partners, successors, predecessors-in-interest, assigns and any other representatives of each of

them.

18.      Attorneys’ Fees and Incentive Award.

         18.1   No later than thirty (30) days prior to the Objection Deadline, Class Counsel may

make written application to the Court for a Fee Award of up to, but not exceeding, one-third of the

Settlement Fund. Wells Fargo Auto agrees not to oppose such application in an amount not to

exceed one-third of the Settlement Fund. The Parties agree that the Court shall determine the final

amount of the Fee Award in this Action.

         18.2   No later than thirty (30) days prior to the Objection Deadline, Class Counsel may

make written application to the Court for an Incentive Award to be paid to the Named Plaintiff for

representing the Settlement Class of up to $7,500.00. Wells Fargo Auto agrees not to oppose an

application in an amount not to exceed $7,500.00. The Parties agree that the Court shall determine

the final amount of the Incentive Award in this Action.

         18.3   Any Fee Award and Incentive Award awarded by the Court shall be paid by the

Administrator out of the Settlement Fund no later than thirty (30) days after the Effective Date.

19.      Effect on Settlement.

         19.1   The Parties agree that the rulings of the Court regarding the amount of the Fee

Award and Incentive Award, and any claim or dispute relating thereto, will be considered by the

Court separately from the remaining matters to be considered at the Final Approval Hearing as




                                             30 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 32 of 67




provided for in this Settlement Agreement and that any determination in that regard may be

embodied in a separate order from the Court. Any order or proceedings relating to the amount of

the Fee Award or the Incentive Award, including any appeals from or modifications or reversals

of any orders related thereto, shall not operate to modify, reverse, terminate, or cancel the

Settlement Agreement, affect the releases provided for in the Settlement Agreement, or affect

whether the Final Approval Order and Judgment becomes final as defined herein except that the

Payment of Benefits procedures as set forth in Section 6 shall not commence until the final

resolution of any appeals or modification or reversals of any orders related to the amount of the

Fee Award and Incentive Award.

20.      Court Submission.

         20.1   Class Counsel will submit this Agreement and the exhibits hereto, along with such

other supporting papers as may be appropriate, to the Court for preliminary approval of this

Agreement pursuant to Rule 23 of the Federal Rules of Civil Procedure. If the Court declines to

grant preliminary approval of this Agreement and to order Notice to be provided to the Settlement

Class, or if the Court declines to grant final approval to the foregoing after such Notice, this

Agreement will terminate as soon as the Court enters an order unconditionally and finally

adjudicating that this Agreement and Settlement will not be approved.

21.      Integration Clause.

         21.1   This Agreement contains the full, complete, and integrated statement of each and

every term and provision agreed to by and among the Parties and supersedes any prior writings or

agreements (written or oral) between or among the Parties, which prior agreements may no longer

be relied upon for any purpose. This Agreement shall not be orally modified in any respect and




                                             31 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 33 of 67




can be modified only by the written agreement of the Parties supported by acknowledged written

consideration.

22.      Headings.

         22.1    Headings contained in this Agreement are for convenience of reference only and

are not intended to alter or vary the construction and meaning of this Agreement.

23.      Binding and Benefiting Others.

         23.1    This Agreement shall be binding upon and inure to the benefit or detriment of the

Parties and the Settlement Class Members who do not Opt-Out, and to their respective agents,

employees, representatives, trustees, members, managers, officers, directors, shareholders,

divisions, parent corporations, subsidiaries, heirs, executors, assigns, and successors in interest.

24.      Representations and Warranties.

         24.1    The Parties each represent, warrant, and agree that, in executing this Agreement,

they do so with full knowledge of any and all rights that they may have with respect to the claims

released in this Agreement and that they have received independent legal counsel from their

attorneys with regard to the facts involved and the controversy herein compromised and with

regard to their rights arising out of such facts. Each of the individuals executing this Agreement

warrants that he or she has the authority to enter into this Agreement and to legally bind the party

for which he or she is signing. Plaintiff hereby warrants and represents that he has not assigned

any claim, right, or interest relating to the Released Claims to any other person or party and is fully

entitled to release same.




                                               32 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 34 of 67




25.      Governing Law.

         25.1    The contractual terms of this Agreement shall be interpreted and enforced in

accordance with the substantive law of the Commonwealth of Massachusetts without regard to its

conflict of laws and/or choice of law principles.

26.      Mutual Interpretation.

         26.1    The Parties agree and stipulate that this Agreement was negotiated on an arm’s-

length basis between Parties of equal bargaining power. Also, the Agreement has been drafted

jointly by Class Counsel and Counsel for Wells Fargo Auto. Accordingly, no ambiguity shall be

construed in favor of or against any of the Parties. Plaintiff acknowledges, but does not concede

or agree with, Wells Fargo Auto’s statements regarding the merits of the claims, and Wells Fargo

Auto acknowledges, but does not concede or agree with, Plaintiff’s statements regarding the merits

of the claims.

27.      Incorporation of Recitals.

         27.1    Each of the Recitals stated above are hereby incorporated into this Settlement

Agreement as if stated fully herein.

28.      Counterparts.

         28.1    This Agreement may be executed in counterparts, each of which shall be deemed

to be an original, and such counterparts together shall constitute one and the same instrument.

Facsimile and pdf signatures shall bind the Parties to this Agreement as though they are original

signatures.

29.      Severability.

         29.1    In the event any one or more of the provisions contained in this Agreement shall

for any reason be held invalid, illegal, or unenforceable in any respect, such invalidity, illegality,




                                              33 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 35 of 67




or unenforceability shall not affect any other provisions if the Parties and their counsel elect by

written stipulation to be filed with the Court within twenty (20) days to proceed as if such invalid,

illegal, or unenforceable provisions had never been included in this Agreement.

30.      Claims Against Settlement Benefits.

         30.1   In the event a third party, such as a bankruptcy trustee, former spouse, or other third

party has or claims to have a claim against any payment made to a Settlement Class Member, it is

the responsibility of the Settlement Class Member to resolve such a claim or to transmit the funds

to such third party.

31.      Execution of Documents.

         31.1   The Parties shall execute all documents and perform all acts necessary and proper

to effectuate the terms of this Settlement Agreement.

32.      Exhibits.

         32.1   The exhibits to this Settlement Agreement are an integral and material part of this

Settlement Agreement and are hereby incorporated and made a part of this Settlement Agreement.

33.      No Assignments: Binding on Assigns.

         33.1   Each Party represents, covenants, and warrants that she or it has not directly or

indirectly assigned, transferred, encumbered, or purported to assign, transfer, or encumber any

portion of any liability, claim, demand, cause of action, or rights that she or it herein releases. This

Settlement Agreement shall be binding upon and inure to the benefit of the Parties and their

respective heirs, trustees, executors, successors, and assigns.

34.      Terms and Conditions Not Superseded.

         34.1   Nothing in this Settlement Agreement abrogates, supersedes, modifies, or qualifies

in any way any of the contractual terms and conditions applicable in the ordinary course to the




                                               34 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 36 of 67




relationship between Wells Fargo Auto and Wells Fargo Auto’s Affiliates and their customers, or

to the products and services provided by Wells Fargo Auto and Wells Fargo Auto’s Affiliates

purchased by their customers.

35.      Waiver of Compliance.

         35.1   Any failure of any Party to comply with any obligation, covenant, agreement, or

condition herein may be expressly waived or excused in writing, to the extent permitted under

applicable law, by the Party entitled to the benefit of such obligation, covenant, agreement, or

condition, and such party’s counsel. A waiver or failure to insist upon compliance with any

representation, warranty, covenant, agreement, or condition shall not operate as a waiver of or

estoppel with respect to any subsequent or other failure.

36.      No Collateral Attack.

         36.1   This Settlement Agreement shall not be subject to collateral attack by any

Settlement Class Members or their representatives any time on or after the Effective Date. Such

prohibited collateral attacks shall include, but shall not be limited to, claims that a Settlement Class

Member’s claim should have been heard or decided by another court or in another suit, that a

Settlement Class Member’s claim was improperly denied, that the payment to a Settlement Class

Member was improperly calculated, and/or that a Settlement Class Member failed to receive timely

notice of the Settlement.

37.      Authorization.

         37.1   The signatories hereto represent that they are fully authorized to enter into the

Settlement Agreement and bind the Parties to the terms and conditions hereof.




                                               35 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 37 of 67




38.      Settlement Class Member Signatures.

         38.1   It is agreed that, because the Settlement Class is so numerous, it is impractical to

have each Settlement Class Member execute this Settlement Agreement. The Notice will advise

all Settlement Class Members and/or their representatives of the binding nature of the Releases

and of this Settlement Agreement, and in the absence of a Successful Opt-Out, such Notice shall

have the same force and effect as if each Settlement Class Member executed this Settlement

Agreement.

39.      Drafter of Agreement.

         39.1   None of the Parties will be considered to be the drafter of this Settlement

Agreement or any of its provisions for purpose of any statute, case law, or rule of interpretation or

construction that would or might cause any provision to be construed against the drafter of this

Settlement Agreement.

40.      Limitations on Use.

         40.1   Neither this Settlement Agreement nor any related documents filed or created in

connection with this Settlement Agreement shall be admissible in evidence in any proceeding,

except as necessary to approve, interpret, or enforce this Settlement Agreement.

41.      Confidentiality of Settlement Negotiations.

         41.1   The Parties and their counsel shall keep strictly confidential and not disclose to any

third party any non-public information regarding the Parties' negotiation of this Settlement and/or

Agreement, unless ordered by the Court to do so. For the sake of clarity, information contained

within this Agreement shall be considered public, as well as any information requested by the

Court in the approval process and other such information necessary to implement this Settlement,




                                              36 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 38 of 67




provided such information is filed (and is not under seal) and/or is not considered to be confidential

materials under the Parties' Protective Order in this case.

42.      Jurisdiction.

         42.1     After entry of the Final Approval Order and Judgment the Court shall retain

jurisdiction with respect to enforcement of the terms of this Settlement Agreement and all Parties

and Settlement Class Members submit to the exclusive jurisdiction of the Court with respect to the

enforcement of this Settlement Agreement and any dispute relating thereto.

43.      Taxes.

         43.1     The Parties agree that the account into which the Settlement Fund is deposited is

intended to be and will at all times constitute a “qualified settlement fund” within the meaning of

Treas. Reg. §1.468B-1.

         43.2     For the purpose of §1.468B of the Code and the Treasury regulations thereunder,

the Settlement Administrator shall be designated as the “administrator” of the Settlement Fund.

The Settlement Administrator shall cause to be timely and properly filed all informational and

other tax returns necessary or advisable with respect to the Settlement Fund (including, without

limitation, the returns described in Treas. Reg. §1.468B-2(k)). Such returns on the income earned

by the Settlement Fund shall be paid out of the Settlement Fund.

         43.3     Any expenses reasonably incurred by the Settlement Administrator in carrying out

the duties described in this Agreement, including fees of tax attorneys and/or accountants, shall be

paid by the Settlement Administrator from the Settlement Fund pursuant to its estimates and

invoice for services rendered.

         43.4     Any Person who receives a distribution from the Settlement Fund shall be solely

responsible for any taxes or tax-related expenses owed or incurred by that Person by reason of that




                                               37 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 39 of 67




distribution. Such taxes and tax-related expenses shall not be paid from the Settlement Fund. If a

Settlement Class Member who is an individual who is entitled to receive $600 or more will

reasonably cooperate with the Settlement Administrator to obtain appropriate reporting

information for all Settlement Class Members who receive over $600.

         43.5   Plaintiff and Class Counsel shall fully bear all the tax consequences of any and all

benefits received by them in connection with this Agreement. Plaintiff acknowledges that Wells

Fargo Auto and its attorneys provided no tax advice related to this Agreement and that Wells Fargo

Auto may be required to file a Form 1099 or other information reports with the United States

Internal Revenue Service. Plaintiff has been advised to consult with tax counsel of Plaintiff’s own

choice to seek legal and tax advice regarding the taxability or non-taxability of consideration

provided herein. In no event shall Wells Fargo Auto or any of the other Released Parties have any

responsibility or liability for taxes or tax-related expenses arising in connection with the payment

or distribution of the Settlement Fund to Plaintiff, Class Counsel, the Settlement Class Members,

the Cy Pres or any other Person.

44.      No Press Releases; No Disparagement.

         44.1   With the exception of the Notices provided for herein, no Party may issue a press

release or public statement of any type, whether oral or written, regarding the Action or the

Settlement. Neither Party may make any statement disparaging the other Party, or suggesting that

Wells Fargo Auto has been found to have violated any law, or that the settlement amounts to an

admission of liability.




                                              38 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 40 of 67




45.      Notice To Parties.

         45.1     Where this Agreement requires any party to provide notice or any other

communication or document to any other party, such notice, communication, or document shall

be provided to the following persons:

If to Wells Fargo Auto:       Sean R. Higgins, Esq.
                              K&L Gates LLP
                              State Street Financial Center
                              One Lincoln Street
                              Boston, MA 02111

If to Class Counsel:          Sergei Lemberg, Esq.
                              Stephen Taylor, Esq.
                              Lemberg Law LLC
                              43 Danbury Road
                              Wilton, CT 06897




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                                            39 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 41 of 67




         IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed on the

date set forth beside their respective signatures.


 DATED:                                              SHAWN HARRINGTON, on behalf of
                                                     himself and the Settlement Class

                                              By:


 DATED:                                              Reviewed and approved by Class Counsel, and
                                                     agreement to be bound to all provisions in the
                                                     Agreement that apply to Class Counsel

                                              By:



               *07
 DATED:                                              WELLS FARGO BANK, N.A. d/b/a WELLS
                                                     FARGO AUTO
                                                             (6,*1('E\/DXUD6FKXSEDFK
                                              By:             RQ*07

                                              Its:   +HDGRI:HOOV)DUJR$XWR

 DATED:                                              Reviewed and approved by Wells Fargo
                                                     Auto’s Counsel

                                              By:




                                              40 of 41
307781790 v1
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 42 of 67




         IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed on the

date set forth beside their respective signatures.


 DATED: 08/28/2020                                   SHAWN HARRINGTON, on behalf of
                                                     himself
                                                        self and the Settlement Class

                                              By:

               08/28/2020
 DATED:                                              Reviewed
                                                         iewedd andd approved
                                                                     appro
                                                                         ovedd by Class Counsel,
                                                                                        Couns and
                                                     agreement to be bound to all provisions in the
                                                     Agreement that apply
                                                                       pp y to Class Counsel

                                              By:



               *07
 DATED:                                              WELLS
                                                       ELLS FARGO BANK,
                                                                  BANK N.A.
                                                                        N A d/b/
                                                                            d/b/a WELLS
                                                                                  WEL
                                                     FARGO AUTO
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                                              By:            RQ*07

                                              Its:   +HDGRI:HOOV)DUJR$XWR

 DATED:                                              Reviewed and approved by Wells Fargo
                                                     Auto’s Counsel

                                              By:




                                              41 of 41
307781790 v1
Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 43 of 67




               Exhibit A
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 44 of 67




UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
 ---------------------------------------------------------------X

 Shawn Harrington, on behalf of himself and all others
 similarly situated,

                           Plaintiff,
          v.

 Wells Fargo Bank, N.A.

                            Defendant.
 ---------------------------------------------------------------X
                                           NOTICE REGARDING
                                        CLASS ACTION SETTLEMENT

A Settlement Agreement has been reached in a class action lawsuit alleging that Wells Fargo Bank,
N.A. (“Wells Fargo”) violated the law by placing in excess of two telephone calls in a seven day
period to Massachusetts consumers to collect a debt regarding a Wells Fargo automobile loan.
Wells Fargo’s records show that you may be a class member under the Settlement Agreement
reached in the case.

The Settlement Agreement provides for a settlement fund of $1,025,000.00 to pay Settlement Class
Members, attorney’s fees, costs, any incentive award to the Class Representative (Shawn
Harrington) and settlement administration costs. If the settlement is approved, Settlement Class
Members shall qualify for direct payments from the Settlement Fund. Your legal rights are
affected whether you act or don’t act so read this notice carefully.

                                            YOUR OPTIONS
 Option 1:                                 Do nothing and recover from the Settlement Fund
 Do Nothing                                If the Settlement Agreement is approved by the Court,
                                           Settlement Class Members will receive direct equal
                                           payments from Settlement Fund. Settlement Class
                                           Members do not need to submit any claim to recover.
 Option 2:                                 Get out of this lawsuit and get no benefits from it
 Ask to be Excluded                        You may ask to be excluded from the lawsuit. By
 Deadline: ___________                     excluding yourself, you cannot recover as part of this
                                           settlement and you keep a right to sue on your own.
 Option 3: Object                          Object to the terms of the Settlement Agreement.
 Deadline: ___________                     You may object to the terms of the Settlement Agreement
                                           and have your objections heard at the _________________
                                           Fairness Hearing. If you object to the Settlement
                                           Agreement you do remain part of the Settlement Class.
      Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 45 of 67




1.   What is this lawsuit about?

In the lawsuit, the Plaintiff alleges that Wells Fargo violated the Massachusetts Consumer
Protection Act, M.G.L. c. 93A § 2, et seq. (“MCPA”), and the Massachusetts Debt Collection
Regulations, 940 CMR § 7.00, et seq. (“MDCR”), by placing in excess of two calls regarding a
debt within a seven-day period to Plaintiff and other Massachusetts consumers.
Wells Fargo denies any wrongdoing and denies that it violated the MCPA, the MDCR or any
other law.
Both sides have agreed to settle the lawsuit to avoid the cost, delay, and uncertainty of further
litigation.
You can read Plaintiff’s Complaint, the Settlement Agreement and other case documents at
www.Harringtonclass.com
2.   Why is this a class action?

In a class action, a Class Representative (in this case, Plaintiff Shawn Harrington) sues on behalf
of a group (or a “Class”) of people. Here, the Class Representative sued on behalf of people
who have similar claims regarding allegedly excessive debt collection calls.
3.   Why is there a settlement?

To avoid the cost, risk, and delay of litigation, the Parties reached a settlement agreement as to
Plaintiff’s and the Class claims.
4.   How do I know if I am a part of the settlement?

For settlement purposes, the Court has certified a Class consisting of all people who meet the
following definition:

       The individuals who were borrowers on a Wells Fargo Auto loan who may have
       received in excess of two telephone calls from Wells Fargo Auto in
       Massachusetts within a seven-day period to their residence, cellular telephone,
       or other telephone number regarding their automobile debt between April 26,
       2015, and December 31, 2019, as reflected on the Class List.

There are 20,757 Settlement Class Members.

5.   How do I recover?

You do not need to do anything to recover. If the Settlement Agreement is approved, the
Settlement Fund, minus administrative costs, attorneys’ fees and costs and any incentive award
to the named plaintiff, will be distributed by a mailed check directly to Settlement Class
Members in an equal amount.

If some Settlement Class Members do not cash the Initial Settlement Check, those uncashed
funds will be distributed equally in a Second Settlement Check to all Settlement Class Members
who did cash their first check.
      Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 46 of 67




If any amounts are remaining from the uncashed Second Settlement Checks, those amounts will
be provided to a charitable organization. The parties have recommended [[[ ]]].
6.    What am I giving up to receive these benefits?

By staying in the Class, all of the Court’s orders will apply to you, and you give a “release” for
any claims arising from allegedly excessive telephone calls to you. A release means you cannot
sue or be part of any other lawsuit against Wells Fargo and the Released Parties about the claims
or issues in this lawsuit and you will be bound by the Settlement Agreement.
7.    How much will the Class Representatives receive?

The Class Representative will receive his portion of the settlement as a Class Member and an
incentive award for having pursued this action. Any incentive payment is subject to Court
Approval. The Class Representative will request an Incentive Award of $7,500.
8.   Do I have a lawyer in this case?

To represent the class, the Court has appointed attorneys with the law firm of Lemberg Law,
LLC, 43 Danbury Road, Wilton, CT 06897 as “Class Counsel.”
Class Counsel will request an award of attorney’s fees of no more than 33% of the Settlement
Fund and for reimbursement of expenses. Any attorney’s fee and expense award is subject to
Court Approval. You may hire your own attorney, but only at your own expense.
9.   I don’t want to be part of this case, how do I ask to be excluded?

Answer: Send a Request to Be Excluded.
If you don’t want a payment from this settlement, but you want to keep the right to individually
sue the Defendant about the issues in this case, then you must take steps to get out of the
settlement. This is called excluding yourself, or “opting out”, of the Settlement Class. To request
to exclude yourself, you must send a letter by mail with (a) the Requester’s full name, address,
and the name of the Action and telephone number; (b) the Requester’s personal and original
signature, or the original signature of a person previously authorized by law, such as a trustee,
guardian, or person acting under a valid power of attorney, to act on behalf of the Requester;
and (c) state unequivocally that the Requester desires to be excluded from the Settlement Class,
to be excluded from the Settlement, not to participate in the Settlement, and/or to waive all rights
to the benefits of the Settlement.

You must mail your exclusion request postmarked no later than [insert date] to [[[ ]]].
10. How do I object?

Any Settlement Class Member who has not requested to be excluded from the Settlement Class
may object to the Settlement. In order to exercise this right, you must submit your objection to
the Court by the Objection Deadline. Your objection must (i) set forth the Settlement Class
Member’s full name, current address, and telephone number; (ii) contain the Settlement Class
Member’s original signature or the signature of counsel for the Settlement Class Member; (iii)
state that the Settlement Class Member objects to the Settlement, in whole or in part; (iv) set
forth the complete legal and factual bases for the Objection, including citations to relevant
authorities; (v) provide copies of any documents that the Settlement Class Member wishes to
submit in support of his/her position; and (vi) state whether the objecting Settlement Class
      Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 47 of 67




Member intends on appearing at the Final Approval Hearing either pro se or through counsel
and whether the objecting Settlement Class Member plans on offering testimony at the Final
Approval Hearing.

Any Class Member that fails to do object in the manner set forth herein shall be foreclosed from
making such objection or opposition, by appeal, collateral attack, or otherwise and shall be
bound by all of the terms of this Settlement upon Final Approval and by all proceedings, orders
and judgments, including but not limited to the Release in the Action.

Objections must be filed with the Clerk of the Court, and delivered or postmarked no later than
________________.

The Court’s address is: Clerk of the Court, District of Massachusetts, 1 Courthouse Way, Suite
2300, Boston, Massachusetts 02210.


                                     The Fairness Hearing
The Court will hold a fairness hearing on _______________, 2021 in the courtroom of the
Honorable Richard G. Stearns, U.S. Courthouse, District of Massachusetts1 Courthouse Way,
Suite 2300, Boston, Massachusetts 02210.. The purpose of the hearing will be for the Court to
determine whether the proposed settlement is fair, reasonable, and adequate and in the best
interests of the Class and to rule on applications for compensation for Class Counsel and an
incentive award for the Class Representative. At that hearing, the Court will be available to hear
any objections and arguments concerning the fairness of the proposed settlement.


YOU ARE NOT REQUIRED TO ATTEND THIS HEARING TO BENEFIT FROM THIS
SETTLEMENT. The hearing may be postponed to a later date without notice.

                                FOR MORE INFORMATION
Additional information and documents, including case documents, are available at
www.Harringtonclass.com, or you can call [[[ ]]].
Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 48 of 67




                Exhibit B
       Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 49 of 67




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                 :
  Shawn Harrington, on behalf of himself and all :
  others similarly situated,                     :
                                                   Civil Action No. 1:19-cv-11180-RGS
                                                 :
                         Plaintiff,              :
          v.                                     :
                                                 :
  Wells Fargo Bank, N.A.                         :
                                                 :
                         Defendant.              :

        [PROPOSED] ORDER PRELIMINARILY APPROVING SETTLEMENT;
      CERTIFYING SETTLEMENT CLASS; APPROVING NOTICE; AND SETTING
                   DATE FOR FINAL APPROVAL HEARING
       WHEREAS, Plaintiff Shawn Harrington (“Plaintiff”) and Defendant Wells Fargo Bank,

N.A. (“Wells Fargo”), have reached a proposed Settlement of the Action, which is set forth in the

Settlement Agreement filed with the Court; and

       WHEREAS, Plaintiff has applied to the Court for preliminary approval of the proposed

Settlement, the terms and conditions of which are set forth in the Settlement Agreement; and

       WHEREAS, the Court has fully considered the record of these proceedings, the Settlement

Agreement and all exhibits thereto, the representations, arguments and recommendation of counsel

for the Parties and the requirements of law; and

       WHEREAS, it appears to the Court upon preliminary examination that the proposed

Settlement is fair, reasonable and adequate, and that a hearing should be held after notice to the

Settlement Class of the proposed Settlement to finally determine whether the proposed Settlement

is fair, reasonable and adequate and whether a Final Approval Order and Judgment should be

entered in this Action.

       THIS COURT FINDS AND ORDERS AS FOLLOWS:

       1.      The capitalized terms used in this Preliminary Approval Order shall have the same

meaning as defined in the Settlement Agreement except as may otherwise be ordered.
       Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 50 of 67




       2.      The Court preliminarily approves the Settlement Agreement as fair, reasonable and

adequate to the Settlement Class, as falling within the range of possible final approval, and as

meriting notice of the Settlement to persons in the Settlement Class for their consideration and a

hearing on the approval of the Settlement.

       3.      The Settlement Agreement was entered into by experienced counsel and only after

extensive arm’s-length negotiations involving mediation before the Honorable Stephen E. Neel

(Ret.), former Superior Court judge for the Commonwealth of Massachusetts and an experienced

mediator.

       4.      For purposes of the Settlement only, the Court conditionally certifies the following

Settlement Class:

               The individuals who were borrowers on a Wells Fargo Auto loan
               who may have received in excess of two telephone calls from Wells
               Fargo Auto in Massachusetts within a seven-day period to their
               residence, cellular telephone, or other telephone number regarding
               their automobile debt between April 26, 2015, and December 31,
               2019, as reflected on the Class List.

       5.      The Court preliminarily finds, for Settlement purposes only, that:

               a.     The above-described Settlement Class is so numerous that joinder of all

               members is impracticable;

               b.     There are questions of law or fact common to the Settlement Class;
               c.     The claims of the Settlement Class Representative is typical of the claims

               of the Settlement Class;

               d.     The Settlement Class Representative will fairly and adequately protect the

               interests of the Settlement Class;

               e.     The questions of fact or law common to the members of the Settlement

               Class predominate over the questions affecting only individual members; and

               f.     Certification of the Settlement Class is superior to other available methods

               for the fair and efficient adjudication of the controversy. The Court notes that,
       Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 51 of 67




                 because the litigation is being settled, rather than litigated, it need not consider the

                 manageability issues that would be presented by this litigation. Amchem Prods.

                 Inc. v. Windsor, 117 S. Ct. 2231, 2240 (1997).

       6.        The Court finds that it has personal jurisdiction over all Class Members, including

the absent Class Members.

       7.        The Named Plaintiff, Shawn Harrington, shall be the Settlement Class

Representative of the Settlement Class. This Court preliminarily finds that he will fairly and

adequately represent and protect the interests of the absent Class Members.

       8.        The Court approves Lemberg Law, LLC, as settlement Class Counsel. This Court

preliminarily finds that they are competent, capable of exercising all responsibilities as Class

Counsel and will fairly and adequately represent and protect the interests of the absent Class

Members.

       9.        The Court approves JND Class Action Administration to serve as the Settlement

Administrator in this Action.

       10.       Any information on the Class List shall be provided solely for the purpose of

providing Notice to the Settlement Class and informing Settlement Class Members about their

rights further to this Settlement, shall be kept in strict confidence, shall not be disclosed to any

third party other than as set forth in the Settlement Agreement to effectuate the terms of the

Agreement or the administration process, shall be used for no other cases, and shall be used for no

other purpose.

       11.       To the extent that any federal or state law governing the disclosure and use of

consumers’ financial information (including but not limited to “nonpublic personal information”

within the meaning of the Graham–Leach–Bliley Act, 15 U.S.C. ch. 94, and its implementing

regulations) permits such disclosure only as required by an order of a court, this order—

       (a)       qualifies as “judicial process” under 15 U.S.C. § 6802(e)(8), and
          Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 52 of 67




          (b)     authorizes the production of such information subject to this order’s protections, in

                  which case the producing party’s production of such information in accordance

                  with this order constitutes compliance with the applicable law’s requirements.

To the extent that any such law requires a producing or requesting party to give prior notice to the

subject of any consumer financial information before disclosure, the Court finds that the

limitations in this order furnish good cause to excuse any such requirement, which the Court hereby

excuses.

          12.     If the Settlement is terminated or is not consummated for any reason, the foregoing

    conditional certification of the Settlement Class and appointment of the Settlement Class

    Representative shall be void and of no further effect, and the parties to the proposed Settlement

    shall be returned to the status each occupied before entry of this Order, without prejudice to any

    legal argument that any of the parties to the Settlement might have asserted but for the Settlement.

          13.     A    Final     Approval      Hearing      shall    be     held    before     this    Court       on

    ______________________, 20__, 1 to address: (a) whether the Court should finally certify the

    Settlement Class and whether the Settlement Class Representative and Class Counsel have

    adequately represented the Settlement Class; (b) whether the proposed Settlement should be

    finally approved as fair, reasonable and adequate and whether the Final Approval Order and

    Judgment should be entered; (c) whether the Released Claims of the Settlement Class in this

    Action should be dismissed on the merits and with prejudice; (d) whether Class Counsel’s

    Attorney’s Fees and Costs application and the Incentive Award for Named Plaintiff should be

    approved; and (e) such other matters as the Court may deem necessary or appropriate. Papers in

    support of final approval of the Settlement, the Incentive Award to Named Plaintiff, and Class

    Counsel’s Attorney’s Fees and Costs application shall be filed with the Court according to the

    schedule set forth in Paragraph 21 below. The Final Approval Hearing may be postponed,

1
  A date no earlier than 120 days following entry of this Preliminary Approval Order as detailed in paragraph 23
infra.
      Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 53 of 67




adjourned, or continued by order of the Court without further notice to the Settlement Class. After

the Final Approval Hearing, the Court may enter a Final Approval Order and Judgment in

accordance with the Settlement Agreement that will adjudicate the rights of all Class Members

with respect to the Released Claims being settled. The Court may finally approve the Settlement

at or after the Fairness Hearing with any modifications agreed to by Wells Fargo and the Class

Representative and without further notice to the Settlement Class.

      14.       The Court approves, as to form and content, the use of a Long Form Notice and

Short Form/Postcard Notice substantially similar to the forms attached as Exhibits A and C to the

Settlement Agreement, respectively.       Written Notice will be provided to members of the

Settlement Class by first-class U.S. mail using Wells Fargo’s records as well as other

investigations deemed appropriate by the Settlement Administrator, updated by the Settlement

Administrator in the normal course of business. All Notices shall be mailed within 30 days of the

date of entry of this Preliminary Approval Order. Prior to the Final Approval Hearing, the

Settlement Administrator will submit to the Court a declaration of compliance with these notice

provisions.

      15.       The cost of Notice and settlement administration shall be paid by Wells Fargo and

from the Settlement Fund, as provided for in the Settlement Agreement.

      16.       The Notice, as directed in this Order, constitutes the best notice practicable under

the unique circumstances of this case and is reasonably calculated to apprise the members of the

Settlement Class of the pendency of this Action and of their right to object to the Settlement or

exclude themselves from the Settlement Class. The Court further finds that the Notice program is

reasonable, that it constitutes due, adequate and sufficient notice to all persons entitled to receive

such notice and that it meets the requirements of due process and of Federal Rule of Civil

Procedure 23.

      17.       Any member of the Settlement Class who desires to be excluded from the

Settlement Class, and therefore not be bound by the terms of the Settlement Agreement, must

submit to the Settlement Administrator, pursuant to the instructions and requirements set forth in
      Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 54 of 67




the Notice, a timely and valid written request for exclusion postmarked no later than 30 days

before the Final Approval Hearing.

      18.     Each request for exclusion, or “Opt-Out”, must be personally signed by the

individual Class Member; any so-called “mass” or “class” opt-outs shall not be allowed. Further,

to be valid and treated as a successful exclusion or “Opt-Out” the request must include: (a) the

Requester’s full name, address, and the name of the Action and telephone number; (b) the

Requester’s personal and original signature, or the original signature of a person previously

authorized by law, such as a trustee, guardian, or person acting under a valid power of attorney,

to act on behalf of the Requester; and (c) state unequivocally that the Requester desires to be

excluded from the Settlement Class, to be excluded from the Settlement, not to participate in the

Settlement, and/or to waive all rights to the benefits of the Settlement.

      19.     No person shall purport to exercise any exclusion rights for any other Person, or

purport to exclude any other Class Member as a group, aggregate or class involving more than

one Class Member, or as an agent or representative. Any such purported exclusion shall be void

and the Person that is the subject of the purported opt-out shall be treated as a member of the

Settlement Class and be bound by the Settlement.

      20.     Any member of the Settlement Class who elects to be excluded shall not be entitled

to receive any of the benefits of the Settlement, shall not be bound by the release of any claims

pursuant to the Settlement Agreement, and shall not be entitled to object to the Settlement or

appear at the Final Approval Hearing.

      21.     Any Class Member who does not submit a valid and timely request for exclusion

may object to the proposed Settlement. Any such Class Member shall have the right to appear

and be heard at the Final Approval Hearing, either personally or through an attorney retained at

the Class Member’s own expense. Any such Class Member must file with the Court and mail or

hand-deliver to the Settlement Administrator a written notice of intention to appear together with

supporting papers, including a detailed statement of the specific objections made, delivered or

postmarked no later than the Objection Deadline. Each Objection must (i) set forth the Settlement
      Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 55 of 67




Class Member’s full name, current address, and telephone number; (ii) contain the Settlement

Class Member’s original signature or the signature of counsel for the Settlement Class Member;

(iii) state that the Settlement Class Member objects to the Settlement, in whole or in part; (iv) set

forth the complete legal and factual bases for the Objection, including citations to relevant

authorities; (v) provide copies of any documents that the Settlement Class Member wishes to

submit in support of his/her position; and (vi) state whether the objecting Settlement Class

Member intends on appearing at the Final Approval Hearing either pro se or through counsel and

whether the objecting Settlement Class Member plans on offering testimony at the Final Approval

Hearing. Any Class Member that fails to do object in the manner set forth herein shall be

foreclosed from making such objection or opposition, by appeal, collateral attack, or otherwise

and shall be bound by all of the terms of this Settlement upon Final Approval and by all

proceedings, orders and judgments, including but not limited to the Release in the Action.

      22.     Pending final determination of whether the Settlement should be approved,

Plaintiff, all persons in the Settlement Class, and persons purporting to act on their behalf are

enjoined from commencing or prosecuting (either directly, representatively, or in any other

capacity) any Released Claim against any of the Released Parties in any action, arbitration or

proceeding in any court, arbitration forum or tribunal.

      23.     Further settlement proceedings in this matter shall proceed according to the

following schedule:

                      EVENT                                    SCHEDULED DATE

 Notice mailing deadline                           30 days after entry of Preliminary Approval
                                                   Order

 Attorney’s Fees and Costs application due by      30 days following the Notice mailing deadline

 Incentive Award application due by                30 days following the Notice mailing deadline

 Last day for Class Members to opt-out of 60 days following the Notice mailing deadline
 Settlement
      Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 56 of 67




 Last day for Class Members to Object to the 60 days following the Notice mailing deadline
 Settlement

 Briefs in support of Final Approval due by       14 days prior to the Final Approval Hearing

 Wells Fargo to file certification regarding 14 days prior to the Final Approval Hearing
 CAFA notice requirements

 Final Approval Hearing                           On the date set in paragraph 13, but no earlier
                                                  than 120 days after entry of Preliminary
                                                  Approval Order

      24.     Service of all papers on counsel for the parties shall be made as follows: for

settlement Class Counsel to Sergei Lemberg, Lemberg Law, LLC, 43 Danbury Road, Wilton, CT

06897; for Defendant to Sean R. Higgins, K&L Gates LLP, State Street Financial Center, One

Lincoln Street, Boston, MA 02111.

      25.     In the event that a Final Approval Order and Judgment is not entered by the Court,

or the Effective Date of the Settlement does not occur, or the Settlement Agreement otherwise

terminates according to its terms, this Order and all orders entered in connection therewith shall

become null and void, shall be of no further force and effect, and shall not be used or referred to

for any purposes whatsoever, including without limitation for any evidentiary purpose (including

but not limited to class certification), in this Action or any other action. In such event the

Settlement Agreement, exhibits, attachments and all negotiations and proceedings related thereto

shall be deemed to be without prejudice to the rights of any and all of the parties, who shall be

restored to their respective positions as of the date and time immediately preceding the execution

of the Settlement Agreement.

      26.     The Court may, for good cause, extend all of the deadlines set forth in this Order

without further notice to the Settlement Class.

      27.     All discovery and other litigation activity in this Action is hereby stayed pending

final approval of the Settlement.
      Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 57 of 67




      28.     The Settlement shall not constitute an admission, concession, or indication of the

validity of any claims or defenses in the Action, or of any wrongdoing, liability, or violation by

Wells Fargo, which vigorously denies all of the claims and allegations raised in the Action.

IT IS SO ORDERED.


DATED: __________, 2020                     By: _____________________________
                                                   Richard G. Stearns
                                                   United States District Judge
Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 58 of 67




                   Exhibit C
             Short Form/Post Card Notice
Case 1:19-cv-11180-RGS     Document 42-1 Filed 09/03/20 Page 59 of 67
                  NOTICE FROM                                                                                PRESORTED
                        UNITED STATES DISTRICT FOR                  [[[Admin Address]]]
                                                                                                             FIRST-CLASS
                               THE DISTRICT OF                                                                   MAIL
                              MASSACHUSETTS
                            (not a lawyer solicitation)                                                      U.S. POSTAGE
                                                                                                                  PAID
A Settlement Agreement has been reached in a class action           [NOTICE ID IN DIGITS]
lawsuit alleging that Wells Fargo Bank, N.A. (“Wells Fargo”),       [NOTICE ID IN BARCODE]
violated the law by placing in excess of two telephone calls in a
seven day period to Massachusetts consumers to collect a debt       Postal Service: Please Do Not Mark or Cover Barcode
regarding a Wells Fargo automobile loan. Wells Fargo’s records
show that you may be a class member and may be entitled to
payment under the Settlement Agreement reached in the case.          [FIRST1] [LAST1]
                                                                     [BUSINESSNAME]
The Settlement Agreement provides for a settlement fund of           [ADDR1] [ADDR2]
$1,025,000.00 to pay Settlement Class Members, attorney’s            [CITY] [ST] [ZIP]
fees, costs, any incentive award to the Class Representative
(Shawn Harrington) and settlement administration costs. Each
Class Member is entitled to an equal share of the fund. If the
settlement is approved, Settlement Class Members shall qualify
for direct payments from the Settlement Fund. Your legal rights
are affected whether you act or don’t act so read this notice
carefully.
This Postcard Notice contains limited information about the
Settlement. For more information visit www.Harringtonclass.com
                              Shawn Harrington v. Wells Fargo Bank, N.A., 19-cv-11180 (District of Massachusetts)
  Case    1:19-cv-11180-RGS
   THIS CARD                              Document
             PROVIDES LIMITED INORMATION ABOUT           42-1
                                               THE SETTLEMENT VISIT Filed    09/03/20FORPage
                                                                    www.Harringtonclass.com         60 of 67
                                                                                            MORE INFORMATION
In the lawsuit, the Plaintiff alleges that Wells Fargo violated the Massachusetts Consumer Protection Act, M.G.L. c. 93A § 2, et seq.
(“MCPA”), and the Massachusetts Debt Collection Regulations, 940 CMR § 7.00, et seq. (“MDCR”), by placing in excess of two calls
regarding a debt within a seven-day period to Plaintiff and other Massachusetts consumers. Wells Fargo denies any wrongdoing and denies
that it violated the MCPA, the MDCR or any other law. Both sides have agreed to settle the lawsuit to avoid the cost, delay, and uncertainty
of further litigation. You can read Plaintiff’s Complaint, the Settlement Agreement and other case documents at www.Harringtonclass.com.
Who’s Included in the Settlement Class? The individuals who were borrowers on a Wells Fargo Auto loan who may have received in
excess of two telephone calls from Wells Fargo Auto in Massachusetts within a seven-day period to their residence, cellular telephone, or
other telephone number regarding their automobile debt between April 26, 2015, and December 31, 2019, as reflected on the Class List.
There are 20,757 Settlement Class Members.
What Can You Get? If the Settlement Agreement is approved, each of the 20,757 Settlement Class Member will be sent an equal share
of the $1,025,000.00 Settlement Fund after deductions for administrative costs, attorneys’ fees and costs and any incentive award to the
named Plaintiff. Class Counsel will request up to one-third of the Settlement Fund in attorneys’ fees and costs and up to $7,500 as an
incentive award to the named Plaintiff for his services on behalf of the Settlement Class. If some Settlement Class Members do not cash
the Initial Settlement Check, those uncashed funds will be distributed equally in a Second Settlement Check to all Settlement Class
Members who did cash their first check.
The Settlement is explained in detail in the Full Notice and in the Settlement Agreement available at www.Harringtonclass.com.
How to Get Money? You do not need to do anything to recover. If the Settlement Agreement is approved payments will be made directly
to Settlement Class Members.
Your Other Rights. If you do not want to be legally bound by the Settlement, you must exclude yourself by DATE or you will not be
able to sue the Defendants for any claims relating to this case. If you exclude yourself, you cannot get money from this Settlement. If you
stay in the Settlement Class, you may object to the Settlement by DATE. The Full Notice, located at the website listed below, explains
how to exclude yourself from, or object to, the Settlement. The Court will hold a hearing in this case on DATE at TIME p.m. to consider
whether to approve the Settlement, Plan of Allocation, and a request by the lawyers representing all Class Members for fees and for
reimbursement of expenses for litigating the case and negotiating the Settlement. You may attend the hearing and ask to be heard by the
Court, but you do not have to. If you do not take any action, you will be legally bound by the Settlement and any orders or Judgments
entered in the Action, and will fully, finally, and forever give up any rights to prosecute Released Claims.
                      For more information or a Claim Form, call 800-xxx-xxxx or visit www.Harringtonclass.com
                                   Do not contact the Court, Defendant or its counsel with questions.
Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 61 of 67




                     Exhibit D
        Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 62 of 67




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                 :
  Shawn Harrington, on behalf of himself and all :
  others similarly situated,                     :
                                                   Civil Action No. 1:19-cv-11180-RGS
                                                 :
                         Plaintiff,              :
          v.                                     :
                                                 :
  Wells Fargo Bank, N.A.                         :
                                                 :
                         Defendant.              :

                          [PROPOSED] FINAL APPROVAL ORDER
        WHEREAS, on ___________________, a Preliminary Approval Order was entered by

the Court preliminarily approving the proposed Settlement pursuant to the terms of the Class

Action Settlement Agreement between Plaintiff Shawn Harrington and Defendant Wells Fargo

Bank, N.A. (“Wells Fargo”), and directing that notice be given to the Settlement Class (Doc. No.

___);

        WHEREAS, pursuant to the notice requirements set forth in the Settlement Agreement

and in the Preliminary Approval Order, the Settlement Class was notified of the terms of the

proposed Settlement, of the right of members of the Settlement Class to opt-out, and of the right

of members of the Settlement Class to be heard at a Final Approval Hearing to determine, inter

alia: (1) whether the terms and conditions of the Settlement Agreement are fair, reasonable and

adequate for the release of the claims contemplated by the Settlement Agreement; and (2) whether

judgment should be entered dismissing this Action with prejudice;

        WHEREAS, a Final Approval Hearing was held on _________________, 202___. Prior

to the Final Approval Hearing, a declaration of compliance with the provisions of the Settlement

Agreement and Preliminary Approval Order relating to notice was filed with the Court as

prescribed in the Preliminary Approval Order. Class Members were therefore notified of their right

to appear at the Final Approval Hearing in support of or in opposition to the proposed Settlement,
       Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 63 of 67




the award of Attorney’s Fees and Costs to Class Counsel, and the payment of an Incentive Award.

        NOW, THEREFORE, the Court having heard the presentation of Class Counsel and

counsel for Wells Fargo, having reviewed all of the submissions presented with respect to the

proposed Settlement, having determined that the Settlement is fair, adequate and reasonable,

having considered the Attorney’s Fees and Cost application made by Class Counsel and the

application for an Incentive Award to the Settlement Class Representative, and having reviewed

the materials in support thereof, and good cause appearing:

        THIS COURT FINDS AND ORDERS AS FOLLOWS:

        1.      The capitalized terms used in this Final Approval Order shall have the same

meaning as defined in the Settlement Agreement except as may otherwise be indicated.

        2.      The Court has jurisdiction over the subject matter of this Action and over all claims

raised therein and all Parties thereto, including the Settlement Class.

        3.      The Court hereby approves the Settlement, including the plans for implementation

and distribution of the settlement relief, and finds that the Settlement is, in all respects, fair,

reasonable and adequate to the Class Members, within the authority of the parties and the result of

extensive arm’s-length negotiations. In reaching this conclusion, the Court considered the factors

set forth in Fed. R. Civ. P. 23(e)(2) and whether: (A) the class representatives and class counsel

have adequately represented the class; (B) the proposal was negotiated at arm’s length; (C) the

relief provided for the class is adequate, taking into account: (i) the costs, risks, and delay of trial

and appeal; (ii) the effectiveness of any proposed method of distributing relief to the class,

including the method of processing class-member claims; (iii) the terms of any proposed award of

attorney’s fees, including timing of payment; and (iv) any agreement required to be identified

under Rule 23(e)(3); and (D) the proposal treats class members equitably relative to each other.

        4.      The Parties shall effectuate the Settlement Agreement in accordance with its terms.

The Settlement Agreement and every term and provision thereof shall be deemed incorporated

herein as if explicitly set forth and shall have the full force of an Order of this Court.

        5.      The Court has considered all objections to the Settlement, including the objections
       Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 64 of 67




of __________________. The Court finds these objections do not counsel against Settlement

approval and they are hereby overruled in all respects.

          6.     The Settlement Class, which will be bound by this Final Approval Order and

Judgment hereon, shall include all members of the Settlement Class who did not submit timely

and valid requests to be excluded from the Settlement Class.

          7.     A list of those putative Settlement Class Members who have timely elected to opt

out of the Settlement and the Settlement Class, and who therefore are not bound by the Settlement,

this Order and the Judgment to be entered hereon, has been submitted to the Court in the

Declaration of ___________, filed in advance of the Final Approval Hearing. That list is attached

as Exhibit A to this Order. All Settlement Class Members (as permanently certified below) shall

be subject to all of the provisions of the Settlement, this Order and the Final Judgment to be entered

hereon.

          8.     For purposes of the Settlement and this Final Approval Order, the Court hereby

certifies the following Settlement Class:

          The individuals who were borrowers on a Wells Fargo Auto loan who may have
          received in excess of two telephone calls from Wells Fargo Auto in Massachusetts
          within a seven-day period to their residence, cellular telephone, or other telephone
          number regarding their automobile debt between April 26, 2015, and December 31,
          2019, as reflected on the Class List.
          9.     The putative Settlement Class Members identified on the list submitted to the Court

and included on Exhibit A as having timely and properly elected to opt out from the Settlement

and the Settlement Class are hereby excluded from the Settlement Class and shall not be entitled

to any of the benefits afforded to the Settlement Class Members under the Settlement. The Court

readopts and incorporates herein by reference its preliminary conclusions as to the satisfaction of

Rules 23(a) and (b)(3) set forth in the Preliminary Approval Order and notes again that because

this certification of the Class is in connection with the Settlement rather than litigation, the Court

need not address any issues of manageability that may be presented by certification of the class

proposed in the Settlement.
       Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 65 of 67




       10.      For purposes of Settlement only, Plaintiff is certified as representative of the

Settlement Class and Class Counsel is appointed counsel to the Settlement Class. The Court

concludes that Class Counsel and the Class Representative have fairly and adequately represented

the Settlement Class with respect to the Settlement.

       11.      Notwithstanding the certification of the foregoing Settlement Class and

appointment of the Class Representative for purposes of effecting the Settlement, if this Order is

reversed on appeal or the Settlement is terminated or is not consummated for any reason, the

foregoing certification of the Settlement Class and appointment of the Class Representative shall

be void and of no further effect, and the parties to the proposed Settlement shall be returned to the

status each occupied before entry of this Order without prejudice to any legal argument that any

of the parties to the Settlement might have asserted but for the Settlement.

       12.      The Court finds that the plan for Notice, set forth in Section 9 of the Settlement

Agreement and effectuated pursuant to the Preliminary Approval Order, was the best notice

practicable under the circumstances, was reasonably calculated to provide and did provide due and

sufficient notice to the Settlement Class of the pendency of the Action, certification of the

Settlement Class for settlement purposes only, the existence and terms of the Settlement

Agreement, and of their right to object and to appear at the Final Approval Hearing or to exclude

themselves from the Settlement, and satisfied the requirements of the Federal Rules of Civil

Procedure, the United States Constitution, and other applicable law.

       13.      The Court finds that Wells Fargo has fully complied with CAFA’s notice

requirements.

       14.      The Settlement Agreement is, in all respects, fair, reasonable and adequate, is in the

best interests of the Settlement Class, and is therefore approved.

       15.      All persons who have not made their objections to the Settlement in the manner

provided in the Settlement Agreement are deemed to have waived any objections by appeal,

collateral attack, or otherwise.

       16.      The cash distributions provided for in the Settlement Agreement shall be paid to
       Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 66 of 67




Settlement Class members, pursuant to the terms and conditions of the Settlement Agreement and

Sections 3 and 5 thereof.

       17.     Upon the Effective Date, members of the Settlement Class who did not validly and

timely opt-out shall, by operation of this Final Approval Order, have fully, finally and forever

released, relinquished and discharged the Released Parties from the Released Claims as specified

in the Release set forth in Section 17 of the Settlement Agreement.

       18.     Plaintiff and each Settlement Class Member are hereby permanently barred and

enjoined from filing, commencing, prosecuting, maintaining, intervening in, participating in,

conducting or continuing, either directly or in any other capacity, any action or proceeding in any

court, agency, arbitration, tribunal or jurisdiction, asserting any claims released pursuant to the

Settlement Agreement, or seeking an award of fees and costs of any kind or nature whatsoever and

pursuant to any authority or theory whatsoever, relating to or arising from the Action and/or as a

result of or in addition to those provided by the Settlement Agreement. In addition, Plaintiff and

each Settlement Class Member are hereby enjoined from asserting as a defense, including as a

setoff or for any other purpose, any argument that if raised as an independent claim would be a

Released Claim.

       19.      The terms of the Settlement Agreement, this Final Approval Order and the

Judgment to be entered hereon shall have maximum res judicata, collateral estoppel, and all other

preclusive effect in any and all claims for relief, causes of action, suits, petitions, demands in law

or equity, or any allegations of liability, damages, debts, contracts, agreements, obligations,

promises, attorney’s fees, costs, interest or expenses which were or could have been asserted in

the Action or are in any way related to the calls at issue in the Action.

       20.      The Final Approval Order, the Judgment to be entered hereon, the Settlement

Agreement, the Settlement which it reflects and all acts, statements, documents or proceedings

relating to the Settlement are not, and shall not be construed as, used as, or be deemed to be

evidence of, an admission by or against Wells Fargo of any fault, wrongdoing, or liability on the

part of Wells Fargo or of the validity or certifiability for litigation of any claims that have been, or
       Case 1:19-cv-11180-RGS Document 42-1 Filed 09/03/20 Page 67 of 67




could have been, asserted in the Action. This Order, the Settlement or any such communications

shall not be offered or received in evidence in any action or proceeding, or be used in any way as

an admission or concession or evidence of any liability or wrongdoing of any nature or that

Plaintiff, any Settlement Class Member, or any other person has suffered any damage; provided,

however, that the Settlement, this Order and the Judgment to be entered hereon may be filed in any

action by Wells Fargo or Settlement Class Members seeking to enforce the Settlement or the

Judgment by injunctive or other relief, or to assert defenses including, but not limited to, res

judicata, collateral estoppel, release, good faith settlement, or any theory of claim preclusion or

issue preclusion or similar defense or counterclaim. The Settlement’s terms shall be forever

binding on, and shall have res judicata and preclusive effect in, all pending and future lawsuits or

other proceedings as to Released Claims and other prohibitions set forth in this Order that are

maintained by, or on behalf of, the Settlement Class Members or any other person subject to the

provisions of this Order.

       21.     The above-captioned Action is hereby dismissed in its entirety with prejudice.

Without affecting the finality of this Final Order in any way, the Court reserves jurisdiction over

all matters relating to the interpretation, administration, implementation, effectuation and

enforcement of this Order and the Settlement.


Let judgment be entered accordingly.


DATED: __________, 2021                       By: _____________________________
                                                     Richard G. Stearns
                                                     United States District Judge
